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                       UNITED STATES COURT OF APPEALS
                                 FOR THE EIGHTH CIRCUIT

                         APPEAL BRIEFING SCHEDULE ORDER

Appeal No.     19-2871 Paul Gillpatrick, et al v. Scott Frakes, et al

Date:          August 30, 2019

                                 APPEAL REQUIREMENTS

1. Complete and file immediately:
   A. Corporate Disclosure Statement. See 8th Cir. R. 26.1A.
   B. Entry of Appearance Form.
      Forms are available at: www.ca8.uscourts.gov/all-forms

2. Prepare the Record on Appeal:
   A. Within 10 days, confer with opposing counsel and determine the method of Appendix
       preparation. See FRAP 30 and 8th Cir. R. 30A.
   B. Within 14 days, order any transcripts required for the appeal and arrange for payment.
      If no transcript is required, file a certificate of waiver. See FRAP 10(b). Appellee
      should order any additional transcripts within 14 days of appellant's order.
   C. Review the "Record on Appeal" at: www.ca8.uscourts.gov/appeal-preparation-
information .

3. Review "Briefing Checklist" and "Pointers on Preparing Briefs" at:
   www.ca8.uscourts.gov/appeal-preparation-information .

                                 GENERAL INFORMATION

        The following filing dates are established for the appeal. The dates will only be extended
upon the filing of a timely motion establishing good cause for an extension of time. An extension
of time automatically extends the filing date for the responding or replying party's brief. Dates
are advanced if a party files its brief before the due date. Please refer to FRAP 25, FRAP 26 and
FRAP 31 for provisions governing filing and service, as well as computing and extending time.

       The Federal Rules of Appellate Procedure and the Eighth Circuit's Local Rules may be
found at www.ca8.uscourts.gov/rules-procedures

       The Practitioner's Handbook and the Court's Internal Operating Procedures may also be
found at the same address.




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                                         APPEAL BRIEFING SCHEDULE
                                               FILING DATES:


Method of Appendix Preparation Notification. . . . . . . . . . . . . . . . . . . . . . . 14 days from today

Designation & Statement of Issues-Appellant . . . . . . . . . . . . . . . . . . . . . . . 14 days from today

Designation of Record-Appellee. . . . . . . . . . 10 days from service of appellant's designation


Appendix (3 copies) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10/09/2019
  ( Michele Capps )
Appendix (3 copies) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10/09/2019
  ( Angela Folts-Oberle )
Appendix (3 copies) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10/09/2019
  ( Scott Frakes )

Appellant Brief with addendum . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10/09/2019
  ( Michele Capps )
Appellant Brief with addendum . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10/09/2019
  ( Angela Folts-Oberle )
Appellant Brief with addendum . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10/09/2019
  ( Scott Frakes )

Appellee Brief. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 30 days from the date the court issues
                                                                   the Notice of Docket Activity filing the brief.

Reply Brief . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .21 days from the date the court issues
                                                                     the Notice of Docket Activity filing the brief.


                              ALL BRIEFS AND APPENDICES SHOULD BE
                                FILED WITH THE ST. LOUIS OFFICE




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